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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                       COURT FILE NO.: _____________________


 D. Weber, a minor,

                    Plaintiff,                               COMPLAINT
 v.
                                                 WITH JURY TRIAL DEMANDED
 Diversified Adjustment Service, Inc.,

                  Defendant.


                                   INTRODUCTION

1.    This action arises from each Defendant’s violations of the Fair Debt Collection

      Practices Act (hereinafter “FDCPA”), 15 U.S.C. § 1692 et seq., and the Telephone

      Consumer Protection Act (hereinafter “TCPA”), 47 U.S.C. § 227 et seq.

2.    The term “consumer” as used in this Complaint means any natural person obligated

      or allegedly obligated to pay any debt. Section 803(3) of the FDCPA, 15 U.S.C. §

      1692a(3).

3.    The term “debt” as used in this Complaint means any obligation or alleged

      obligation of a consumer to pay money arising out of a transaction in which the

      money, property, insurance, or services which are the subject of the transaction are

      primarily for personal, family, or household purposes, whether or not such

      obligation has been reduced to judgment. Section 803(5) of the FDCPA, 15 U.S.C.

      § 1692a(5).




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4.   The term “debt collector” as used in this Complaint means any person who uses any

     instrumentality of interstate commerce or the mails in any business the principal

     purpose of which is the collection of any debts, or who regularly collects or attempts

     to collect, directly or indirectly, debts owed or due or asserted to be owed or due

     another. The term includes any creditor who, in the process of collecting his own

     debts, uses any name other than his own which would indicate that a third person is

     collecting or attempting to collect such debts. Section 803(6) of the FDCPA, 15

     U.S.C. § 1692a(6).

5.   The term “automatic telephone dialing system” means equipment which has the

     capacity—(A) to store or produce telephone numbers to be called, using a random

     or sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(1).

                           JURISDICTION AND VENUE

6.   Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C.

     § 1692k(d).

7.   Venue is proper in this district because the acts and transactions occurred in this

     district, Plaintiff resides in this district, and each Defendant transacts business in

     this district.

                                          PARTIES

8.   Plaintiff, D. Weber, a minor (hereinafter “Plaintiff Weber”), is a natural person

     residing in the City of Andover, County of Anoka, State of Minnesota. Plaintiff is,

     and at all times mentioned herein was, a “person” as defined by 47 U.S.C. § 153

     (10); is a “consumer” as that term is defined by Section 803(3) of the FDCPA, 15


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      U.S.C. § 1692a(3), and/or a person affected by a violation of the FDCPA with

      standing to bring this claim under Section 803 of the FDCPA, 15 U.S.C. § 1692k(a).

9.    Defendant, Diversified Adjustment Service, Inc. (hereinafter “Defendant

      Diversified”), is a privately held, national consumer and commercial collection

      agency, incorporated under the laws of the State of Minnesota, is licensed to do

      business in said State, and its principal place of business is located at 600 Coon

      Rapids Boulevard, Coon Rapids, Minnesota 55434.

                                FACTUAL ALLEGATIONS

                  Violations of The Telephone Consumer Protection Act

10.   At no time did Plaintiff Weber, a minor, ever enter into a business relationship with

      Defendant Diversified, and at no time did Plaintiff Weber ever have a past due debt

      with Defendant Diversified.

11.   Plaintiff Weber did not provide his cellular telephone number to Defendant

      Diversified through any medium at any time.

12.   Defendant Diversified obtained Plaintiff Weber’s contact information through

      unknown means.

13.   Defendant Diversified began contacting Plaintiff Weber with an automatic

      telephone dialing system (“ATDS”) as defined by 47 U.S.C. § 227(a)(1) beginning

      in September 2014 in an attempt to collect an alleged debt allegedly owed by a third-

      party, not Plaintiff Weber.

14.   Specifically, on September 17th, 2014 at 12:21 p.m.; September 19th, 2014 at 9:06

      a.m.; September 22nd, 2014 at 8:38 a.m.; September 23rd, 2014 at 4:57 p.m.;


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      September 24th, 2014 at 5:33 p.m.; September 25th, 2014 at 10:41 a.m.; and

      September 30th, 2014 at 3:39 p.m., Defendant Diversified utilized its ATDS in order

      to contact Plaintiff Weber on his cellular telephone at the number (763) 245-8838.

15.   Plaintiff Weber believes that Defendant Diversified utilized an ATDS because there

      was a noticeable delay between Plaintiff Weber cell phone automatically answering

      one of Defendant Diversified’s telephonic communications and Defendant

      Diversified’s agent responding.

16.   This ATDS has the capacity to store or produce telephone numbers to be called,

      using a random or sequential number generator.

17.   The telephone number Defendant Diversified called was assigned to a cellular

      telephone service for which Plaintiff Weber incurred a charge for incoming calls

      and texts pursuant to 47 U.S.C. § 227(b)(1).

18.   These telephone communications constituted communications that were not for

      emergency purposes as defined by 47 U.S.C. § 227(b)(1)(A)(i).

19.   These telephone communications constituted telephone solicitations as defined by

      47 U.S.C. § 227(a)(4).

20.   Plaintiff Weber did not provide prior express consent to receive calls or messages

      on his cellular telephones, pursuant to 47 U.S.C. § 227(b)(1)(A).

21.   These telephone communications by Defendant Diversified, or its agents, violated

      47 U.S.C. § 227(b)(1).




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                    Violations of The Fair Debt Collection Practices Act

22.   Defendant Diversified utilized its ATDS in order to contact Plaintiff Weber on his

      cellular telephone at the aforementioned seven (7) different dates and times in

      September of 2014.

23.   During this time period, Plaintiff Weber had an outgoing voicemail greeting

      recorded on his cellular telephone in his voice—the voice of a male.

24.   The debtor in question that Defendant Diversified was seeking to contact was a

      female.

25.   Defendant Diversified’s first telephone call to Plaintiff Weber’s cellular telephone,

      on September 17th, 2014 at 12:21 p.m., went unanswered and immediately

      proceeded to Plaintiff Weber’s outgoing voicemail greeting, which would have

      notified Defendant Diversified that it was attempting to contact the wrong

      individual—a male instead of a female.

26.   Each one of the six (6) subsequent telephone calls that Defendant Diversified made

      to Plaintiff Weber’s cellular telephone went unanswered and, consequently, was

      sent directly to Plaintiff Weber’s outgoing voicemail greeting.

27.   Despite the fact that Defendant Diversified had been put on notice that it was calling

      a male instead of a female after the first telephone call on September 17th, 2014 at

      12:21 p.m., Defendant Diversified made six (6) subsequent telephone calls to

      Plaintiff Weber causing his telephone to ring repeatedly or continuously with intent

      to annoy, abuse, or harass Plaintiff Weber, in violation of 15 U.S.C. § 1692d(5).




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28.   Defendant Diversified deliberately disregarded the difference between the true

      debtor and Plaintiff Weber as a result of its skip-tracing efforts, and then was

      reckless, harassing, and oppressive in its hounding collection campaign aimed at

      Plaintiff Weber in violation of 15 U.S.C. §1692d, 1692e and 1692f.

29.   The conduct of Defendant Diversified put considerable stress upon Plaintiff Weber

      that caused him to be distracted at school, anxiety, restlessness and mental anguish.

30.   As a result of Defendant Diversified’s violations and illegal invasion of Plaintiff

      Weber’s privacy, Plaintiff Weber is entitled to actual and statutory, in addition to

      attorney’s fees and costs.

                                      TRIAL BY JURY

31.   Plaintiff is entitled to and hereby respectfully demands a trial by jury. U.S. Const.

      amend. VII. and Fed.R.Civ.P. 38.

                                   CAUSES OF ACTION

                                          COUNT I.

                        NEGLIGENT VIOLATIONS OF THE
                    TELEPHONE CONSUMER PROTECTION ACT
                              47 U.S.C. § 227 et seq.

32.   Plaintiff Weber incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

33.   The forgoing acts and omissions of Defendant Diversified, and its agents, constitute

      numerous and multiple negligent violations of the TCPA, including but not limited

      to each and every one of the above-cited provisions of 47 U.S.C. § 227 et seq.




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34.   As a result of Defendant Diversified’s negligent violations of 47 U.S.C. § 227 et

      seq., Plaintiff Weber is entitled to an award of $500.00 in statutory damages, for

      each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).

35.   Plaintiff Weber is also entitled to and seeks injunctive relief prohibiting such

      conduct in the future.

                                           COUNT II.

        KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
                    CONSUMER PROTECTION ACT
                         47 U.S.C. § 227 et seq.

36.   Plaintiff Weber incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

37.   The forgoing acts and omissions of Defendant Diversified, and its agents, constitute

      numerous and multiple knowing and/or willful violations of the TCPA, including

      but not limited to each and every one of the above-cited provisions of 47 U.S.C. §

      227 et seq.

38.   As a result of Defendant Diversified’s knowing and/or willful violations of 47

      U.S.C. § 227 et seq., Plaintiff Weber is entitled to an award of $1,500.00 in statutory

      damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47

      U.S.C. § 227(b)(3)(C).

39.   Plaintiff Weber is also entitled to and seeks injunctive relief prohibiting such

      conduct in the future.




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                                            COUNT III.

                                 VIOLATIONS OF THE
                        FAIR DEBT COLLECTION PRACTICES ACT
                                 15 U.S.C. § 1692 et seq.

40.      Plaintiff Weber incorporates by reference all of the above paragraphs of this

         Complaint as though fully stated herein.

41.      The foregoing acts and omissions of Defendant Diversified, and its agents,

         constitute numerous and multiple violations of the FDCPA including, but not

         limited to, each and every one of the above-cited provisions of the FDCPA, 15

         U.S.C. § 1692 et seq., with respect to Plaintiff Weber.

42.      As a result of each Defendant Diversified’s violations of the FDCPA, Plaintiff

         Weber is entitled to actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory

         damages in an amount up to $1,000.00 per Defendant, pursuant to 15 U.S.C. §

         1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant to 15 U.S.C. §

         1692k(a)(3), from each Defendant herein.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully prays that relief be granted against

Defendant as follows:

       for an award of statutory damages of $500.00 per call pursuant to 47 U.S.C. §
        227(b)(3)(B) against Defendant Diversified and for Plaintiff Weber;
       for an award of treble damages of $1,500.00 per call pursuant to 47 U.S.C. §
        227(b)(3)(B) against Defendant Diversified and for Plaintiff Weber;
       for an injunction prohibiting Defendant Diversified from contacting the Plaintiff
        Weber on his cellular phone using an automated dialing system pursuant to the 47
        U.S.C. § 227(b)(3)(A).
       that judgment be entered against Defendant Diversified for statutory damages
        pursuant to 15 U.S.C. § 1692k(a)(2)(A) and (B);

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    that judgment be entered against Defendant Diversified for actual damages;
    that the Court award costs and reasonable attorney’s fees from Defendant
     Diversified, pursuant to 15 U.S.C. § 1692k(a)(3); and
    for such other and further relief as may be just and proper.


Dated: March 5, 2015

                                  Respectfully submitted,


                                 By: s/ Thomas J. Lyons Jr.
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